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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7

 8 CAROL LARSON, as attorney in fact for
   PATRICIAN PEARCY,
 9                                                       Case No. 2:23-cv-0354-RSL
                           Plaintiff,
10                                                       AMENDED ORDER SETTING
        v.                                               TRIAL DATE & RELATED DATES
11
   JACKSON NATIONAL LIFE INSURANCE
12 COMPANY,

13                               Defendant.

14   TRIAL DATE                                                         March 3, 2025

15   Deadline for amending pleadings                                    September 4, 2024

     Expert Disclosures Reports under FRCP 26(a)(2) due                 September 4, 2024
16
     All motions related to discovery must be noted on the motion
17          calendar no later than the Friday before discovery closes
            pursuant to LCR 7(d) or LCR 37(a)(2)
18
     Discovery completed by                                             November 3, 2024
19
     Settlement conference held no later than                           November 17, 2024
20
     All dispositive motions must be filed by and noted on the motion   December 3, 2024
21           calendar no later than the fourth Friday thereafter (see
             LCR 7(d)(3))
22
     All motions in limine must be filed by and noted on the motion     February 3, 2025
23          calendar no earlier than the second Friday thereafter.
            Replies will be accepted.
24
     AMENDED ORDER SETTING TRIAL DATE & RELATED
     DATES - 1
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 1   Agreed pretrial order due                                               February 19, 2025

 2   Pretrial conference to be scheduled by the Court

 3   Trial briefs, proposed voir dire questions, proposed jury               February 26, 2025
             instructions, and trial exhibits due
 4
     Length of Trial: 5-7 days                                               Jury
 5

 6           These dates are set at the direction of the Court after reviewing the parties’ submission.

 7 Dkt. # 24. All other dates have already passed or are specified in the Local Civil Rules. If any

 8 of the dates identified in this Order or the Local Civil Rules fall on a weekend or federal holiday,

 9 the act or event shall be performed on the next business day. These are firm dates that can be

10 changed only by order of the Court, not by agreement of counsel or the parties. The Court will

11 alter these dates only upon stipulation of the parties or good cause shown. Failure to complete

12 discovery within the time allowed is not recognized as good cause.

13          If the trial date assigned to this matter creates an irreconcilable conflict, counsel must

14 notify Teri Roberts, the judicial assistant, at 206-370-8810 within 14 days of the date of this

15 Order and must set forth the exact nature of the conflict. A failure to do so will be deemed a

16 waiver. Counsel must be prepared to begin trial on the date scheduled, but it should be

17 understood that the trial may have to await the completion of other cases.

18          The settlement conference conducted between the close of discovery and the filing of

19 dispositive motions requires a face-to-face meeting or a telephone conference between persons

20 with authority to settle the case. The settlement conference does not have to involve a third-

21 party neutral.

22        ALTERATIONS TO ELECTRONIC FILING PROCEDURES AND LOCAL RULES

23          Information and procedures for electronic filing can be found on the Western District of

24
     AMENDED ORDER SETTING TRIAL DATE & RELATED
     DATES - 2
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 1 Washington’s website at www.wawd.uscourts.gov. Pro se litigants may file either

 2 electronically or in paper form. The following alterations to the Electronic Filing Procedures

 3 apply in all cases pending before Judge Lasnik:

 4          – Alteration to Section III, Paragraph M of the Electronic Filing Procedures - Unless the

 5 proposed order is stipulated, agreed, or otherwise uncontested, the parties need not e-mail a copy

 6 of the order to the judge’s e-mail address.

 7          – Pursuant to LCR 10(e)(10), all references in the parties’ filings to exhibits should be as

 8 specific as possible (i.e., the reference should cite the specific page numbers, paragraphs, line

 9 numbers, etc.). All exhibits must be marked to designate testimony or evidence referred to in the

10 parties’ filings. Filings that do not comply with LCR 10(e) may be rejected and/or returned to

11 the filing party, particularly if a party submits lengthy deposition testimony without highlighting

12 or other required markings.

13          – Alteration to LCR 7(d)(4) - Any motion in limine must be filed by the date set forth

14 above and noted on the motion calendar no earlier than the second Friday thereafter. Any

15 response is due on or before the Wednesday before the noting date. Parties may file and serve

16 reply memoranda, not to exceed nine pages in length, on or before the noting date.

17                                          PRIVACY POLICY

18          Pursuant to Federal Rule of Civil Procedure 5.2 and Local Civil Rule 5.2, parties must

19 redact the following information from documents and exhibits before they are filed with the

20 court:

21          * Dates of Birth - redact to the year of birth, unless deceased

22          * Names of Minor Children - redact to the initials, unless deceased or currently over the

23 age of 18

24        * Social Security Numbers and Taxpayer Identification Numbers - redact in their entirety
     AMENDED ORDER SETTING TRIAL DATE & RELATED
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 1          * Financial Accounting Information - redact to the last four digits

 2          * Passport Numbers and Driver License Numbers - redact in their entirety

 3          All documents filed in the above-captioned matter must comply with Federal Rule of

 4 Civil Procedure 5.2 and Local Civil Rule 5.2.

 5                                           COOPERATION

 6          As required by Local Civil Rule 37(a), all discovery matters are to be resolved by

 7 agreement if possible. Counsel are further directed to cooperate in resolving case management

 8 issues and preparing the final pretrial order in the format required by Local Civil Rule 16.1,

 9 except as ordered below.

10                                           TRIAL EXHIBITS

11          The original and two copies of the trial exhibits are to be delivered to chambers five days

12 before the trial date. Each exhibit shall be clearly marked. Exhibit tags are available in the

13 Clerk’s Office. Plaintiff’s exhibits shall be numbered consecutively beginning with 1;

14 defendant’s exhibits shall be numbered consecutively beginning with 500. Duplicate documents

15 shall not be listed twice: once a party has identified an exhibit in the pretrial order, any party may

16 use it. Each set of exhibits shall be submitted in one or more three-ring binders with

17 appropriately numbered tabs.

18                                            SETTLEMENT

19          Should this case settle, counsel shall notify the Deputy Clerk, Victoria Ericksen at 206-

20 370-8517, as soon as possible. Pursuant to LCR 11(b), an attorney who fails to give the Deputy

21 Clerk prompt notice of settlement may be subject to such discipline as the Court deems

22 appropriate.

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     AMENDED ORDER SETTING TRIAL DATE & RELATED
     DATES - 4
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 1       Dated this 20th day of February, 2024.

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 3                                         Robert S. Lasnik
                                           United States District Judge
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     AMENDED ORDER SETTING TRIAL DATE & RELATED
     DATES - 5
